       Case 1:20-cr-00067-PLM ECF No. 34 filed 09/25/20 PageID.107 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                               Case No. 1:20-cr-67

 v.                                                      HONORABLE PAUL L. MALONEY

 JAMES ROBERT HOOKS,

             Defendant.
 ____________________________/


                ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Ray Kent in this action (ECF No. 28). The Report and Recommendation was

duly served on the parties, and no objection has been made thereto within the time required by

law.

         THEREFORE, IT IS ORDERED that:

         1.     The Report and Recommendation of the Magistrate Judge is approved and

adopted as the opinion of the Court.

         2.     Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count Two of the Indictment.

         3.     The written plea agreement is hereby continued under advisement pending

sentencing.


Dated: September 25, 2020                                     /s/ Paul L. Maloney___________
                                                             Paul L. Maloney
                                                             United States District Judge
